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                                                          March 7, 2022

        VIA EMAIL ONLY: trothert@aclu-mo.org
        Mr. Anthony Rothert
        ACLU of Missouri Foundation
        906 Olive Street, Suite 1130
        St. Louis, Missouri 63101


        Dear Mr. Rothert:

                This will respond to representations made in your February 25, 2022 press release regarding
        the status of various Wentzville R-IV School District ("District") books. It will also address
        similarly inaccurate representations set forth in the Amended Complaint you filed on the same day
        before the U.S. District Court for the Eastern District of Missouri in Case No. 4:22-cv-00191-MTS.

                Despite your characterization of Fun Home: A Family Tragicomic, by Alison Bechdel; All
        Boys Aren't Blue, by George M. Johnson; Heavy: An American Memoir, by Kiese Laymon; Lawn
        Boy, by Jonathan Evison; Gabi, A Girl in Pieces, by Isabel Quintero; Modern Romance: An
        Investigation, by Aziz Ansari; and Invisible Girl: A Novel by Lisa Jewell, as "banned books" in both
        your press release and Amended Complaint, none of these titles have in fact been "permanently
        removed" from circulation by the District at this time.1

                 Fun Home: A Family Tragicomic; All Boys Aren't Blue; Heavy: An American Memoir; and
        Lawn Boy are all titles under challenge and currently in committee review pursuant to District Board
        policy. Modern Romance: An Investigation and Invisible Girl: A Novel have been returned to
        circulation in the District without restriction. As such, most (if not all) of the issues raised in present
        litigation would seem to be moot or unripe. Regardless, I assume that future pleadings and public
        statements on the matter will accurately reflect the status of the materials under discussion.

                Please feel free to reach out to me if you would like to discuss this matter further. Nothing
        herein is intended as a waiver of any right, defense, claim or argument available to the District, nor
        should it be construed or represented as such.

                                                             Cordially,

                                                             /s/ Drew Marriott
                                                             Drew Marriott



        1
         As you are aware, the District's Board of Education rescinded its prior decision to not retain The Bluest Eye by Toni
        Morrison, and voted to retain the title without restriction on February 25, 2022. Further, as acknowledged in the
        Amended Complaint, Gabi has been retained and returned to circulation after review by the District's Board of
        Education.

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                                                        Exhibit 31                                      Springfield, Missouri
